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                       Exhibit A

                     Proposed Order
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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re:                                                         Chapter 11

BOY SCOUTS OF AMERICA AND                                      Case No. 20-10343 (___)
DELAWARE BSA, LLC,1
                                                               (Jointly Administered)
                           Debtors.
                                                               Ref. Docket No. __

        ORDER, PURSUANT TO 11 U.S.C. § 502(b)(9), BANKRUPTCY RULES 2002
             AND 3003(c)(3), AND LOCAL RULES 2002-1(e), 3001-1, AND 3003-1,
            (I) ESTABLISHING DEADLINES FOR FILING PROOFS OF CLAIM,
        (II) ESTABLISHING THE FORM AND MANNER OF NOTICE THEREOF,
      (III) APPROVING PROCEDURES FOR PROVIDING NOTICE OF BAR DATE
         AND OTHER IMPORTANT INFORMATION TO ABUSE VICTIMS, AND
     (IV) APPROVING CONFIDENTIALITY PROCEDURES FOR ABUSE VICTIMS

         Upon the motion (the “Motion”)2 of the Boy Scouts of America and Delaware BSA,

LLC, the non-profit corporations that are debtors and debtors in possession in the above-

captioned chapter 11 cases (collectively, the “Debtors”) for entry of an order (this “Order”), (i)

establishing deadlines within which General Proofs of Claim and Abuse Proofs of Claim against

the Debtors’ estates are to be filed, (ii) approving the proposed procedures for filing General

Proofs of Claim and Abuse Proofs of Claim, including special procedures allowing for holders of

Abuse Claims to file confidential Abuse Proofs of Claim, (iii) approving the proposed

procedures for notice of the bar dates, including the form of Bar Date Notices, (iv) approving the

General Proof of Claim Form and the Abuse Proof of Claim Form, (v) approving the forms of

supplemental notice and procedures for providing notice to unknown holders of Abuse Claims


1
 The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors’ mailing
address is 1325 West Walnut Hill Lane, Irving, Texas 75038.
2
 All capitalized terms used but not otherwise defined herein have the meanings ascribed to such terms in the
Motion.
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and other unknown creditors and parties in interest, and (vi) granting related relief; and upon

consideration of the First Day Declaration; and this Court having jurisdiction over this matter

pursuant to 28 U.S.C. § 1334 and the Amended Standing Order of Reference from the United

States District Court for the District of Delaware, dated February 29, 2012; and this matter being

a core proceeding within the meaning of 28 U.S.C. § 157(b)(2); and this Court being able to

issue a final order consistent with Article III of the United States Constitution; and venue of this

proceeding and the Motion in this district being proper pursuant to 28 U.S.C. §§ 1408 and 1409;

and this Court having found that the relief requested in the Motion is in the best interests of the

Debtors’ estates, their creditors, and other parties in interest; and this Court having found that the

Debtors’ notice of the Motion and opportunity for a hearing on the Motion were appropriate

under the circumstances and no other notice need be provided; and this Court having reviewed

the Motion and having heard the statements in support of the relief requested therein at a hearing

before this Court, if any; and all objections, if any, to the Motion having been withdrawn,

resolved or overruled; and the relief requested in the Motion being in the best interests of the

Debtors’ estates, their creditors and other parties in interest; and this Court having determined

that the legal and factual bases set forth in the Motion establish just cause for the relief granted

herein; and after due deliberation and sufficient cause appearing therefor, it is HEREBY

ORDERED THAT:

       1.      The relief requested in the Motion is GRANTED as set forth herein.

       2.      The following procedures for filing General Proofs of Claim are approved:

               (a)     Unless otherwise provided herein, the General Bar Date shall be 5:00 p.m.
                       (prevailing Eastern Time) on the date that is eighty (80) days from
                       service of the General Bar Date Notice.

               (b)     Unless otherwise provided herein, the Governmental Bar Date shall be
                       August 17, 2020 at 5:00 p.m. (prevailing Eastern Time).



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 (c)   General Proofs of Claim must: (i) be written in the English language;
       (ii) be denominated in lawful currency of the United States as of the
       Petition Date (using the exchange rate, if applicable, as of the Petition
       Date); (iii) conform substantially to the General Proof of Claim Form
       annexed to the Motion as Exhibit C-1 or Official Bankruptcy Form No.
       410; (iv) specify by name and case number the Debtor against which the
       General Proof of Claim is filed; (v) set forth with specificity the legal and
       factual basis for the alleged claim; (vi) include supporting documentation
       for the claim or an explanation as to why such documentation is not
       available; and (vii) be signed by the claimant or, if the claimant is not an
       individual, by an authorized agent of the claimant.

 (d)   If a claimant asserts a claim against more than one Debtor or has claims
       against both Debtors, the claimant must file a separate General Proof of
       Claim against each Debtor.

 (e)   General Proofs of Claim must be filed by delivering the original General
       Proof of Claim Form by hand, or mailing the original General Proof of
       Claim Form so that it is received by the Claims and Noticing Agent on or
       before the General Bar Date as follows:

              BSA Claims Processing
              c/o Omni Agent Solutions
              5955 De Soto Ave., Suite 100
              Woodland Hills, CA 91367

 (f)   A General Proof of Claim shall be deemed timely filed only if it is
       actually received by the Claims and Noticing Agent at the address listed
       above in subparagraph (e) on or before the General Bar Date or
       Governmental Bar Date.

 (g)   General Proofs of Claim sent by email, facsimile, or telecopy transmission
       shall not be accepted.

 (h)   Any person or entity (including, without limitation, individuals,
       partnerships, corporations, joint ventures, trusts, and Governmental Units)
       that asserts a claim that arises from the rejection of an executory contract
       or unexpired lease must file a General Proof of Claim based on such
       rejection by the later of (i) the General Bar Date or Governmental Bar
       Date, as applicable, and (ii) the date that is thirty (30) days following the
       entry of the Court order approving such rejection, (which order may be the
       order confirming a chapter 11 plan in the Debtors’ chapter 11 cases) or be
       forever barred from doing so.

 (i)   Notwithstanding the foregoing, a party to an executory contract or
       unexpired lease that asserts a claim on account of unpaid amounts accrued
       and outstanding as of the Petition Date pursuant to such executory contract



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       or unexpired lease (other than a rejection damages claim) must file a
       General Proof of Claim for such amounts on or before the General Bar
       Date or Governmental Bar Date, as applicable, unless an exception
       identified in paragraph (l) below applies.

 (j)   In the event that the Debtors amend or supplement their Schedules
       subsequent to the date of entry of the Proposed Order, the Debtors shall
       give notice of any amendment or supplement to the holders of claims
       affected thereby, and such holders shall have until the later of (i) the
       General Bar Date and (ii) thirty (30) days from the date of such notice to
       file a General Proof of Claim or be barred from doing so and shall be
       given notice of such deadline.

 (k)   Any person or entity that relies on the Schedules has the responsibility to
       determine that its claim is accurately listed in the Schedules.

 (l)   The following persons or entities are not required to file a General Proof
       of Claim on or before the General Bar Date, solely with respect to the
       claims described below:

       (1)    any person or entity whose claim is listed on the Schedules;
              provided that (i) the claim is not listed on the Schedules as
              “disputed,” “contingent,” or “unliquidated,” (ii) the person or
              entity does not dispute the amount, nature, and priority of the claim
              as set forth in the Schedules, and (iii) the person or entity does not
              dispute that the claim is an obligation of the specific Debtor
              against which the claim is listed in the Schedules;

       (2)    any person or entity whose claim has been paid in full;

       (3)    any holder of a claim allowable under section 503(b) and 507(a)(2)
              of the Bankruptcy Code as an administrative expense (other than
              a holder of a section 503(b)(9) claim);

       (4)    any person or entity who holds a claim that heretofore has been
              allowed by Order of this Court entered on or before the applicable
              Bar Date;

       (5)    any holder of a claim for which a separate deadline has been fixed
              by this Court;

       (6)    any person or entity (other than a holder of an Abuse Claim) who
              has already filed a Proof of Claim with the Claims and Noticing
              Agent against the Debtors with respect to the claim being asserted,
              utilizing a claim for that substantially conforms to the General
              Proof of Claim Form or Official Form No. 410; or




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             (7)    each Debtor in these chapter 11 cases having a claim against the
                    other Debtor in these chapter 11 cases.

3.    The following procedures for filing an Abuse Proof of Claim are approved:

      (a)    Unless otherwise provided herein, the Abuse Claims Bar Date shall be the
             5:00 p.m. (prevailing Eastern Time) on the date that is eighty (80)
             days from service of the Abuse Claims Bar Date Notice.

      (b)    Abuse Proofs of Claim must: (i) be written in the English language; (ii)
             be denominated in lawful currency of the United States as of the Petition
             Date (using the exchange rate, if applicable, as of the Petition Date); (iii)
             conform substantially to the Abuse Proof of Claim Form annexed to the
             Motion as Exhibit C-2; (iv) set forth with specificity the legal and factual
             basis for the alleged claim, including all of the information requested in
             the Abuse Proof of Claim Form; and (v) be signed by the holder of the
             Abuse Claim.

      (c)    Abuse Proofs of Claim must be filed either (i) electronically through the
             Electronic Filing System or (ii) by delivering the original Abuse Proof of
             Claim Form by hand, or mailing the original Abuse Proof of Claim Form
             on or before the Abuse Claims Bar Date as follows:

                    BSA Abuse Claims Processing
                    c/o Omni Agent Solutions
                    5955 De Soto Ave., Suite 100
                    Woodland Hills, CA 91367

      (d)    An Abuse Proof of Claim shall be deemed timely received only if it is
             actually received by the Claims and Noticing Agent at the address listed
             above in subparagraph (c) on or before the Abuse Claims Bar Date.

      (e)    Abuse Proofs of Claim sent by email, facsimile, or telecopy transmission
             shall not be accepted.

      (f)    Any holder of an Abuse Claim who believes that she or he has an
             Abuse Claim, including but not limited to holders of Abuse Claims
             who have previously filed lawsuits or asserted claims against the
             Debtors, holders of Abuse Claims who have called the Scouts First
             Hotline or otherwise reported a claim of abuse, and holders of Abuse
             Claims who have never filed a lawsuit, asserted a claim against the
             Debtors, entered into a settlement, or reported their abuse, must
             submit the applicable Abuse Proof of Claim Form. For the avoidance
             of doubt, even if the Abuse Claim is time-barred under an applicable
             statute of limitations, each holder of an Abuse Claim is required to file
             an Abuse Proof of Claim in order to preserve the right to pursue an
             Abuse Claim in the event of a change in the applicable statute of


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                      limitations, or shall be forever barred from doing so. Any holder of an
                      Abuse Claim must file the applicable Abuse Proof of Claim Form even if
                      such claimant may be included in, or represented by, another action filed
                      against the Debtors with respect to such claimant’s Abuse Claim.

               (g)    The following persons or entities are not required to file an Abuse Proof
                      of Claim on or before the Abuse Claims Bar Date, solely with respect to
                      the claims described below:

                      (1)    Any person or entity that is not a holder of an Abuse Claim;

                      (2)    Any holder of an Abuse Claim whose claim has been paid in full;
                             provided, however, that this subsection does not include
                             holders of Abuse Claims who were paid pursuant to settlement
                             agreements but who believe they have additional claims against
                             the Debtors beyond what was agreed to in the applicable
                             settlement agreement;

                      (3)    any holder of an Abuse Claim who holds a claim that heretofore
                             has been allowed by Order of this Court entered on or before the
                             applicable Abuse Claims Bar Date.

         4.    For the avoidance of doubt, the foregoing procedures shall apply to all holders of

Abuse Claims only, and, unless otherwise subject to one of the exceptions set forth above, each

holder of an Abuse Claim shall be required to file an Abuse Proof of Claim by the Abuse Claims

Bar Date, including any holder of an Abuse Claim (i) who may otherwise be included in, or

represented by, a lawsuit or action filed against the Debtors, and (ii) even if an Abuse Claim is

time-barred under an applicable statute of limitations, in order to preserve the right to

pursue an Abuse Claim in the event of a change in the applicable statute of limitations, or

such holder shall be forever barred from doing so.

         5.    The following “Confidentiality Protocol” shall apply with respect to Proofs of

Claim:

               (a)    Holders of Abuse Claims are directed not to file an Abuse Proof of Claim
                      with the Court. Instead and as described above, the Abuse Proof of Claim
                      must be mailed and delivered to the Claims and Noticing Agent at the
                      following address: BSA Abuse Claims Processing, c/o Omni Agent
                      Solutions, 5955 De Soto Ave., Suite 100, Woodland Hills, CA 91367.


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                 (b)     Minors and their parents and legal guardians holding non-Abuse Claims
                         are directed not to file a General Proof of Claim with the Court. Instead
                         and as described above, the General Proof of Claim must be mailed and
                         delivered to the Claims and Noticing Agent at the following address: BSA
                         Claims Processing, c/o Omni Agent Solutions, 5955 De Soto Ave.,
                         Suite 100, Woodland Hills, CA 91367.

                 (c)     Submitted Abuse Proofs of Claim will not be available to the general
                         public unless the holder designates otherwise on the Abuse Proof of Claim
                         Form. Submitted General Proofs of Claim related to minors will not be
                         available to the general public. The Confidentiality Protocol is for the
                         benefit of such holders. Holders of Abuse Claims may, solely in their
                         discretion, elect to make public the information contained in their
                         submitted Abuse Proofs of Claim.

                 (d)     Abuse Proofs of Claim submitted by holders of Abuse Claims and General
                         Proofs of Claim submitted on behalf of minors shall be held and treated as
                         confidential by the Claims and Noticing Agent, the Debtors, the Debtors’
                         counsel and retained advisors, and any of parties listed below (the
                         “Permitted Parties”) to the extent such Permitted Party requests access to
                         the Abuse Proof of Claim Form. Furthermore, each Permitted Party shall
                         execute and return to the Debtors’ counsel (with a copy to any official
                         committee that may be appointed in these chapter 11 cases to represent
                         holders of Abuse Claims) a confidentiality agreement substantially in the
                         form attached to the Motion as Exhibit D (the “Confidentiality
                         Agreement”) by which such Permitted Party agrees to keep the
                         information provided in the Abuse Proofs of Claim confidential.

                 (e)     The Permitted Parties include:3

                         (1)      counsel and advisors to the Debtors retained pursuant to an Order
                                  of this Court;

                         (2)      officers, directors, and employees of the Debtors necessary to
                                  assist the Debtors and their counsel in reviewing and analyzing the
                                  Abuse Claims;

                         (3)      the Claims and Noticing Agent;

                         (4)      counsel for any official committee appointed by this Court to
                                  represent holders of Abuse Claims;


3
 With the exception of counsel and advisors the Debtors retains pursuant to Orders of this Court, counsel to any
official committee appointed to represent holders of Abuse Claims, the U.S. Trustee’s attorneys, counsel to any
appointed Future Claimants’ Representative, and the Claims and Noticing Agent, each Permitted Party receiving
access to the Abuse Proofs of Claim or the General Proofs of Claim of minors (or any information aggregated or
derived therefrom) must execute the Confidentiality Agreement.



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                      (5)     the Office of the United States Trustee for the District of Delaware
                              (the “U.S. Trustee”);

                      (6)     insurance companies (including their successors) that provided
                              insurance related to the claims described in the Abuse Proofs of
                              Claim, including authorized claims administrators of such
                              insurance companies and their reinsurers and counsel;

                      (7)     any Future Claimants’ Representative;

                      (8)     any special arbitrator, mediator, or claims reviewer appointed to
                              review and resolve Abuse Claims;

                      (9)     any trustee, or functional equivalent thereof, appointed to
                              administer payments to holders of Abuse Claims;

                      (10)    any person with the express written consent of the Debtors and any
                              official committee appointed by this Court to represent holders of
                              Abuse Claims upon seven (7) business days’ notice to holders of
                              Abuse Claims; and

                      (11)    such other persons as the Court determines should have the
                              information in order to evaluate Abuse Claims or the claims of
                              minors upon seven (7) business days’ notice to such holders.

       6.      For the avoidance of doubt, nothing in this Order precludes the Debtors from

discharging any obligations to report child abuse under state or federal law.

       7.      For the purpose of determining whether an individual should submit a General

Proof of Claim or an Abuse Proof of Claim, “Abuse” is defined as sexual conduct or misconduct,

sexual abuse or molestation, sexual exploitation, indecent assault and/or battery, rape,

pedophilia, ephebophilia, sexually related psychological or emotional harm, humiliation,

anguish, shock, sickness, disease, disability, dysfunction, or intimidation, any other sexual

misconduct or injury, contacts or interactions of a sexual nature, including the use of

photography, video, or digital media, or other physical abuse or bullying without regard to

whether such physical abuse or bullying is of a sexual nature, between a child and an adult,

between a child and another child, or between a non-consenting adult and another adult, in each




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instance without regard to whether such activity involved explicit force, whether such activity

involved genital or other physical contact, and whether there is or was any associated physical,

psychological, or emotional harm to the child or non-consenting adult.

       8.      Any holder of a claim against the Debtors, including any holder of an Abuse

Claim, who is required to file a General Proof of Claim or Abuse Proof of Claim in accordance

with this Order, but fails to do so on or before the applicable Bar Date, shall not be permitted to

vote to accept or reject the Plan filed in these chapter 11 cases or receive further notices

regarding such claim.

       9.      The General Bar Date Notice, the Abuse Claims Bar Date Notice, and the Abuse

Claims Publication Notice, attached to the Motion as Exhibits B-1, B-2, and B-3, respectively,

are hereby approved.

       10.     The following procedures are hereby approved with respect to the General Bar

Date Notice:

               (a)      At least eight (80) days prior to the General Bar Date, the Debtors shall
                        cause to be mailed (i) a General Proof of Claim Form and (ii) the General
                        Bar Date Notice to the following parties:

                        (1)    the U.S. Trustee;

                        (2)    all parties listed on the creditor matrix;

                        (3)    all creditors and other known holders of claims against the Debtors
                               as of the date of entry of this Order, including all entities listed on
                               the Schedules as holding claims against the Debtors, but excluding
                               holders of Abuse Claims;

                        (4)    all persons or entities that have filed General Proofs of Claim as of
                               the date of entry of the Proposed Order;

                        (5)    all counterparties to the Debtors’ executory contracts and
                               unexpired leases as of the date of entry of the Proposed Order;

                        (6)    all parties to pending litigation against the Debtors that is unrelated
                               to Abuse Claims;


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                      (7)     all current and former employees, directors, and officers (to the
                              extent that contact information for former employees, director, and
                              officers is available in the Debtors’ records);

                      (8)     all regulatory authorities that regulate the Debtors’ organization as
                              of the date of entry of this Proposed Order;

                      (9)     the Offices of the United States Attorney for the District of
                              Delaware and the Northern District of Texas;

                      (10)    the office of the attorney general for each state in which the
                              Debtors maintain or conduct operations;

                      (11)    the District Director of the Internal Revenue Service for the
                              District of Delaware;

                      (12)    all other taxing authorities for the jurisdictions in which the
                              Debtors maintain or conduct organizational operations;

                      (13)    all parties who have requested notice pursuant to Bankruptcy Rule
                              2002 as of the date of entry of the Proposed Order; and

                      (14)    such additional persons and entities deemed appropriate by the
                              Debtors.

               (b)    The Debtors shall also post the General Proof of Claim Form and the
                      General Bar Date Notice on the website established by the Claims and
                      Noticing Agent, www.OfficialBSAClaims.com.

       11.     The Debtors are hereby ordered to, via the Claims and Noticing Agent, serve via

first-class mail (i) the Abuse Claims Bar Date Notice, substantially in the form annexed to the

Motion as Exhibit B-2, and (ii) an Abuse Proof of Claim Form, at least eighty (80) days prior to

the Abuse Claims Bar Date to each known holder of an Abuse Claim, including, without

limitation, any holder of an Abuse Claim that has filed a Proof of Claim on or prior to the entry

of a Proposed Order at the address listed in such Proof of Claim.

       12.     The Debtors shall also serve the Abuse Claims Bar Date Notice and Abuse Proof

of Claim Form on any attorneys appointed to represent an official committee of holders of Abuse

Claims.




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         13.     Further, the Debtors shall post the Abuse Proof of Claim Form and the Abuse

Claims     Bar     Date   Notice    on     the      Claims   and   Noticing   Agent’s   website,

www.OfficialBSAClaims.com.

         14.     Any person or entity who desires to rely on the Schedules will have the

responsibility for determining that such person’s or entity’s Claim is accurately listed in the

Schedules.

         15.     The Debtors shall use commercially reasonable efforts to publish the Abuse

Claims Publication Notice, in substantially the form attached to the Motion as Exhibit B-3

(allowing reasonable time for administrative and logistical issues), with any necessary

modifications for ease of publication.

         16.     The Abuse Claims Notice Procedures, including the Supplemental Notice Plan

and the Abuse Claims Publication Notice, are reasonably calculated to provide notice to

unknown creditors, including holders of Abuse Claims, of the Bar Dates and the other matters

described therein, and are hereby approved and no other or further notice shall be required. The

Court finds and concludes that identities and contact information of holders of Abuse Claims

other than known Holders of Abuse Claims, as described in the Motion, are not reasonably

ascertainable and that such parties therefore are unknown creditors with respect to any claims

they may have against the Debtors’ estates, for whom notice by publication pursuant to

Bankruptcy Rule 2002(l) is appropriate and sufficient.

         17.     The Court further finds and concludes that publication of the Abuse Claims

Publication Notice as provided in this Order will itself constitute adequate notice of the Abuse

Claims Bar Date and other matters described therein on all unknown creditors, without regard to

the additional elements of the Supplemental Notice Plan.




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       18.     Notwithstanding the relief granted in this Order and any actions taken pursuant to

such relief, nothing in this Order shall be deemed as (a) an admission as to the validity or priority

of any claim or lien against the Debtors, (b) a waiver of the Debtors’ rights to subsequently

dispute such claim or lien on any grounds, (c) a promise or requirement to pay any prepetition

claim, (d) an implication or admission that any particular claim is of a type specified or defined

in the Motion or this Order, (e) a request or authorization to assume any prepetition agreement,

contract, or lease pursuant to section 365 of the Bankruptcy Code, or (f) a waiver of the Debtors’

or any other party in interest’s rights under the Bankruptcy Code or any other applicable law.

       19.     Entry of this Order is without prejudice to the right of the Debtors to seek a

further order of this Court fixing the date by which holders of claims not subject to the Bar Dates

established herein must file such claims against the Debtors or be forever barred from doing so.

       20.     The Debtors and the Claims and Noticing Agent are authorized to take all actions

necessary to effectuate the relief granted in this Order in accordance with the Motion.

       21.     This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Interim Order.



Dated: ____________, 2020
                                                  UNITED STATES BANKRUPTCY JUDGE




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